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   UNITED STATES DISTRICT COURT
   EASTERN DISTRICT OF NEW YORK
   ------------------------------------------------------------X
   UNITED STATES OF AMERICA,


                 -v-                                                     23-cr-197 (S-1) (JS) (AYS)


   GEORGE ANTHONY DEVOLDER                                            NOTICE OF APPEARANCE
   SANTOS,

           Also known as “George Santos”

                                       Defendant.
   ------------------------------------------------------------X

           To:         The Clerk of the United States District Court
                       For the Eastern District of New York

           PLEASE TAKE NOTICE that Andrew Mancilla, Esq. a member of the law firm

   Mancilla & Fantone, LLP, hereby notes his appearance as retained counsel on behalf of

   GEORGE ANTHONY DEVOLDER SANTOS, the defendant in the above-captioned

   matter. Mr. Mancilla is licensed in the State of New York and admitted to practice before

   this Court.

   Dated: January 22, 2024
          New York, New York
                                                                     /s/ Andrew Mancilla
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   To: All parties of record via ECF
